











Opinion issued October 17, 2005











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01–05–00968–CV
____________

IN RE HONG KILDONG, INC., Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator Hong Kildong, Inc. filed a petition for a writ of mandamus complaining
of Judge Lloyd’s orders dismissing the two underlying lawsuits and other orders
related to those lawsuits.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for a writ of mandamus.
&nbsp;
PER CURIAM
Panel consists of Justices **, Hanks, and Keyes.


